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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   NUVASIVE, INC.,                                     Case No.: 3:18-CV-347-CAB-MDD
12                                      Plaintiff,
                                                         ORDER LIFTING STAY
13   v.
14   ALPHATEC HOLDINGS, INC.,
15                                   Defendant.
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18         Upon consideration of the parties’ joint statement and recommendations for further
19   proceedings in light of the United States Patent and Trademark Office’s grant of
20   Defendant’s petitions for inter partes review (“IPR”) of U.S. Patent Nos. 8,361,156 (the
21   “‘156 Patent”) and 8,187,334 (the “‘334 Patent”), it is hereby ORDERED as follows:
22         1. The case remains STAYED as to the claims concerning the ‘156 Patent and the
23            ‘334 Patent;
24         2. The stay entered on February 6, 2019 [Doc. No. 156] is VACATED as to claims
25            concerning the seven other patents at issue in this case (collectively, the “access
26            patents”);
27         3. Trial on all claims concerning the access patents is set for April 27, 2020 at 8:45
28            a.m.; and,

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 1        4. On or before August 20, 2019, the parties shall file a joint proposed schedule for
 2           all other case management dates for the access patent claims sufficient to meet
 3           the trial date set forth above.
 4        It is SO ORDERED.
 5   Dated: August 6, 2019
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